                                   Caseyour
     Fill in this information to identify 23-13239-LMI
                                            case:                   Doc 1         Filed 04/27/23           Page 1 of 9
     United States Bankruptcy Court for the:

     ____________________
     Southern              District of _________________
              District of Florida      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        1207N   Prive Investments, LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               11251 NW 20th Street                                     _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                               Unit 121
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Miami                         FL    33172
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Miami-Dade County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                                    Case 23-13239-LMI               Doc 1      Filed 04/27/23             Page 2 of 9

                1207N Prive Investments, LLC
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            XXXX
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                       
                                                       ✔   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.              S.D. Fla.
                                                   District _______________________       05/12/2022 Case number _________________________
                                                                                    When _______________          22-13737-LMI
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
                                 Case 23-13239-LMI                     Doc 1        Filed 04/27/23           Page 3 of 9

              1207N Prive Investments, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                                 Case 23-13239-LMI                    Doc 1            Filed 04/27/23       Page 4 of 9

               1207N Prive Investments, LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                          $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              04/27/2023
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Semmin Safi Nasser
                                               _____________________________________________               Semmin Safi Nasser
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Manager
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Richard Robles
                                               _____________________________________________              Date         04/27/2023
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Richard Robles
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Law Offices of Richard R. Robles, P.A.
                                               _________________________________________________________________________________________________
                                               Firm name
                                                905 Brickell Bay Drive Suite 228
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Miami
                                               ____________________________________________________             FL            33131
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                305-755-9200
                                               ____________________________________                              rrobles@roblespa.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                0088481                                                         FL
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
                                       Case 23-13239-LMI              Doc 1       Filed 04/27/23            Page 5 of 9

      Fill in this information to identify the case:

                    1207N Prive Investments, LLC
      Debtor name __________________________________________________________________

                                              Southern District of Florida
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                           Check if this is an
      Case number (If known):    _________________________                                                                                     amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                         12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code         and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                 creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
     Florida Power & Light Company                                         Utility Services        Disputed
1    700 Universe Blvd                                                                             Unliquidated
     North Palm Beach, FL, 33408                                                                   Contingent                                           773.39


     Semmin Safi Nasser                                                                            Disputed
2    8415 NW 34th Drive                                                                            Unliquidated
                                                                                                   Contingent
                                                                                                                                                        0.00
     Miami, FL, 33122

     Island Estates Marina Association, Inc.                                                       Disputed
3    5500 Island Estates Drive                                                                     Unliquidated
     Attn: Management Office                                                                       Contingent                                           0.00
     North Miami Beach, FL, 33160


     NI Holdings, LLC                                                                              Disputed
4    2750 NE 185 St                                                                                Unliquidated
     Suite 301                                                                                     Contingent                                           0.00
     Miami, FL, 33180


     Internal Revenue Service                                              Income Taxes            Disputed
5    P. O. Box 7346                                                                                Unliquidated
     Philadelphia, PA, 19101-7346                                                                  Contingent                                           0.00


     Merrick B. Garland, U.S. Attorney General                                                     Disputed
6    950 Pennsylvania Avenue, NW                                                                   Unliquidated
     Washington, DC, 20530                                                                         Contingent                                           0.00



7




8




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
                                  Case 23-13239-LMI             Doc 1      Filed 04/27/23              Page 6 of 9

                  1207N Prive Investments, LLC
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
                Case 23-13239-LMI    Doc 1    Filed 04/27/23   Page 7 of 9




                             United States Bankruptcy Court
                             Southern District of Florida




         1207N Prive Investments, LLC
In re:                                                         Case No.

                                                               Chapter    11
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              04/27/2023                        /s/ Semmin Safi Nasser
Date:
                                                Signature of Individual signing on behalf of debtor

                                                Manager
                                                Position or relationship to debtor
            Case 23-13239-LMI   Doc 1     Filed 04/27/23   Page 8 of 9


CNP V Ventures, LLC,
290 NW 165 St
Suite M-600
Miami, FL 33169


Eleanor T. Barnett, Esq
355 Alhambra Cir
Suite 1250
Miami, FL 33134


Florida Power & Light Company
700 Universe Blvd
North Palm Beach, FL 33408


Frank P. Cuneo, Esq., CRL Law Group
2655 S Le Jeune Rd
Suite 804
Miami, FL 33134-5814


Haber Law, P.A.
251 NW 23 Street
Miami, FL 33127


Internal Revenue Service
P. O. Box 7346
Philadelphia, PA 19101-7346


Island Estates Marina Association, Inc.
5500 Island Estates Drive
Attn: Management Office
North Miami Beach, FL 33160


Merrick B. Garland, U.S. Attorney General
950 Pennsylvania Avenue, NW
Washington, DC 20530


Miami-Dade Tax Collector
200 NW 2nd Avenue
Miami, FL 33128


NI Holdings, LLC
2750 NE 185 St
Suite 301
Miami, FL 33180


Prive at Island Estates Maintenance Associati
5000 Island Estates Drive
Attn: Management Office
North Miami Beach, FL 33160
            Case 23-13239-LMI   Doc 1   Filed 04/27/23   Page 9 of 9


Prive Condominium Association, Inc.
5000 Island Estates Drive
Attn: Management Office
North Miami Beach, FL 33160


Semmin Safi Nasser
8415 NW 34th Drive
Miami, FL 33122
